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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       No. 1:21-CR-291
                                                     )
ALBUQUERQUE COSPER HEAD                              )

                          DEFENDANT’S RESPONSE TO COURT

       Albuquerque Head, through counsel, respectfully submits this response to the Court’s

Minute Entry, dated June 23, 2021.

       On March 15, 2021, the government filed a Memorandum in Support of Detention for co-

defendant Sibick. See ECF Doc. 8. Throughout the Memorandum are screenshots of video footage

from the U.S. Capitol on January 6, 2021. It does not appear from the record that the entire videos

were provided to the Court for review. Similarly, on April 28, 2021, the government filed a

Memorandum in Support of Detention for Mr. Head. See ECF Doc. 32. This Memorandum

contains many of the same screenshots referenced in the Memorandum of Sibick. See ECF Doc.

32 at pgs. 7, 10-11. On June 1, 2021, Counsel for the Press Coalition filed petition requesting the

public release of the videos referenced in Sibick’s Memorandum in Support of Detention. See

1:21-MC-82, Doc. 1. Pursuant to Standing Order No 21-28, the presiding judge may seek the

position of the parties before determining whether the release is appropriate.

       Mr. Head understands the general and long-standing presumption in favor of public access

to judicial records. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980); Nixon v.

Warner Communications, Inc., 435 U.S. 589 (1978); United States v. Hubbard, 650 F.2d 293 (D.C.

Cir. 1980) (creating the Hubbard test). This identical issue was examined in United States v.

Jackson, 1:21-MJ-115 and the Hubbard test was employed. The District Court weighed all of the
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Hubbard factors and overwhelmingly determined that public access to the videos was appropriate.

See 1:21-MJ-115, ECF Doc. 24.

       As a result, Mr. Head takes no position on the relief sought by the Press Coalition in 1:21-

MC-182.



                                               RESPECTFULLY SUBMITTED:

                                               FEDERAL DEFENDER SERVICES OF
                                               EASTERN TENNESSEE, INC.

                                       BY:     s/ G. Nicholas Wallace
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2021, a copy of the foregoing Response was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular
U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                               s/ G. Nicholas Wallace
